
The Supreme Court affirmed the judgment of the Common Pleas on April 13th, 1885, in the following opinion:
Per Curiam.
There was no error in the rejection of evidence covered by the fourth and fifth assignments of error. Letters and conversations between persons, both agents for the plaintiff in error, were not admissable to affect the opposite party; nor was the unsupported claim of one to whom the wood leave was paid, evidence to establish a right of property in the ties. As-the taking of the property was unlawful, that was in itself a conversion; so no demand was necessary. Moreover, the defense set up was a claim of right to the property. It was a persistent denial of all right of property in the plaintiff below. There was no error in entering judgment in his favor on the point reserved.
Judgment affirmed. - ■ . - -
